               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CRIMINAL CASE NO. 1:09-cr-00025-MR-8

UNITED STATES OF AMERICA, )
                           )
                           )
              vs.          )                    ORDER
                           )
                           )
ERNEST RICHARD PARKER.     )
__________________________ )

       THIS MATTER is before the Court on the Defendant’s “Motion to

Revoke or Modify Restitution Order” [Doc. 343].

I.     PROCEDURAL BACKGROUND

       On April 7, 2009, the Defendant was charged along with eleven co-

defendants with conspiracy to possess with intent to distribute at least 500

grams of a mixture or substance containing a detectable amount of

methamphetamine, in violation of 21 U.S.C. §§ 841 and 846. [Doc. 3]. The

Defendant later pled guilty to this charge pursuant to a written plea

agreement.     [Doc. 127].   Pursuant to the terms of this written plea

agreement, the Defendant agreed “to pay full restitution, regardless of the

resulting loss amount” to “all victims directly or indirectly harmed by the

defendant’s ‘relevant conduct’….” [Id. at 2 ¶7].



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        On May 21, 2010, the Defendant was sentenced to 151 months’

imprisonment and ordered to pay $5,806.00 in restitution to the Drug

Enforcement Administration for the cost of cleaning up the site used by the

Defendant during the conspiracy for the manufacture of methamphetamine.

[Doc. 308 at 5].        In the Judgment, the Court gave notice that other

defendants “may be held jointly and severally liable for payment of all or

part of the restitution ordered herein . . . .” [Id. at 6].

        The Defendant did not appeal the Court’s Judgment. Instead, nearly

three years later, the Defendant moves the Court to revoke or modify the

restitution order set forth in the Judgment. Specifically, he argues that “it is

unfair and unjust [for] him alone to be satisfying the restitution portion of the

sentence . . . .” [Doc. 343 at 2]. He asks the Court to modify the restitution

order so that he is directly responsible for only 50% of the stated amount

or, alternatively, that his payment recommence upon his release from

prison. [Id. at 2-3].

II.     ANALYSIS

        The Court “cannot remit a mandatorily imposed restitution order.”

United States v. Roper, 462 F.3d 336, 339 (4th Cir. 2006); United States v.

Wood, No. 5:05-CR-4402BO, 2013 WL 1222685, at *1 (E.D.N.C. Mar. 25,

2013) (“District courts may relax the restitution payment scheduled and


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may apportion restitution among co-defendants at the time of sentencing,

but once judgment has been entered against the defendant the Court may

not modify or cancel the total amount of restitution.”).        Moreover, the

Defendant waived the right to challenge the restitution order in his plea

agreement.     See Doc. 127 at 5 ¶19 (“Defendant, in exchange for the

concessions made by the United States in this plea agreement, waives all

such rights to contest the conviction and/or the sentence except for: (1)

claims of ineffective assistance of counsel and/or (2) prosecutorial

misconduct.”).

      To the extent that the Defendant requests a modification of the

payment schedule, this request also must be denied.         The Court may

adjust a defendant’s payment schedule upon receipt of notification that

there has been a “material change in the defendant’s economic

circumstances that might affect the defendant’s ability to pay restitution.”

18 U.S.C. § 3664(k). No such “material change” has been identified here.

      For these reasons, the Defendant’s request to revoke or modify the

restitution order is denied.

      IT IS, THEREFORE, ORDERED that the Defendant’s “Motion to

Revoke or Modify Restitution Order” [Doc. 343] is DENIED.




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  IT IS SO ORDERED.
                             Signed: December 3, 2013




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